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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

JULE DOTSON,                             )
                                         )
               Plaintiff,                )
                                         )
               v.                        )           07 C 5648
                                         )
CHICAGO POLICE OFFICERS J.               )           Judge Kocoras
PENTIMONE, Star #6054, P. ARPAIA,        )
Star # 1510, R. FRANKS, Star # 15935, N. )           Magistrate Judge Keys
EVANGELIDES, Star $6390, M.              )
FLORES, Star #3037, J. RIVERA,           )
Star #19099, and the CITY OF CHICAGO, )
                                         )
               Defendants.               )           JURY DEMANDED


                          FIRST AMENDED COMPLAINT

     NOW COMES the plaintiff, JULE DOTSON, through his attorney, Jared S.

Kosoglad, and complaining of the defendants CHICAGO POLICE OFFICERS J.

PENTIMONE, Star #6054, P. ARPAIA, Star #1510, R. FRANKS, Star #15935, N.

EVANGELIDES, Star #6390, and M. FLORES, Star #3037, J. RIVERA, Star #19099.

and the CITY OF CHICAGO, states as follows:

                                   INTRODUCTION

       1.   This is a civil action seeking damages against defendants for committing acts

under color of law, and depriving plaintiffs of rights secured by the Constitution and laws

of the United States.

                                    JURISDICTION

       2.      The jurisdiction of this Court is invoked pursuant to the Civil Rights Act,

42 U.S.C., § 1983; the judicial code 28 U.S.C., § 1331 and 1343 (a); the Constitution of

the United States; and pendent jurisdiction as provided under U.S.C., § 1367(a).
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                                           PARTIES

        3.        Plaintiff is a citizen of the United States of America, who currently

resides in Chicago, Cook County, Illinois.

        4.        Defendants, CHICAGO POLICE OFFICERS J. PENTIMONE, Star

#6054, P. ARPAIA, Star #1510, R. FRANKS, Star #15935, N. EVANGELIDES, Star

#6390, and M. FLORES, Star #3037, J. RIVERA, Star #19099, were, at the time of this

occurrence, duly licensed Chicago Police Officers. They engaged in the conduct

complained of while on duty in the course and scope of their employment and under color

of law. They are sued in their individual capacities.

        5.     Defendant City of Chicago, (“City”) is a municipal corporation duly

incorporated under the laws of the State of Illinois, and is the employer and principal of

the police officer defendants.

                                            FACTS

        6.        On April 20, 2007, Plaintiff was walking home when Defendant Officers

stopped him and asked him about a murder.

        7.        When Plaintiff stated that he had no knowledge of a murder, Defendant

Officers, without probable cause or any other legal basis, unlawfully searched and

arrested Plaintiff.

        8.        Defendant Officers failed to answer when Plaintiff asked why he was

being arrested.

        9.        Defendant Officers then transported Plaintiff to 25th District police station

where they questioned him for hours about a murder.

        10.       Defendant Officers, without probable cause or any other legal basis, then

strip searched Plaintiff and kept him in a holding room for many hours.

        11.       Defendant Officers then charged Plaintiff with a drug charge without
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   probable cause or any other legal basis in knowing violation of Plaintiff’s rights.

             12.      On April 20, 2007, Defendants Pentimone, Arpaia, Franks, Evangelides,

   Flores, and Rivera, conspired and agreed amongst themselves to illegally arrest, search

   and imprison Plaintiff based upon fraudulent charges. In furtherance of this conspiracy,

   Defendants filled out and filed false and incomplete police reports relative to the arrest,

   search and imprisonment of Plaintiff. Defendants also bore false witness at Plaintiff’s

   criminal trial and perjured themselves under oath in the Circuit Court of Cook County.

             13.      The criminal charges against Plaintiff were dismissed after a jury

   discredited the Defendants’ version of events and found Plaintiff not guilty of all charges

   in a manner indicative of Plaintiff’s innocence. After approximately two years in

   custody, Plaintiff was freed.

             14.      As a direct and proximate result of the malicious actions of the co-

   conspirators, Plaintiff was injured, including loss of freedom, invasion of privacy,

   humiliation, the deprivation of his constitutional rights and dignity, lost time, lost

   property, lost wages, extreme emotional distress, psychological injuries, loss of

   relationships, panic and anxiety attacks, and extreme emotional distress.

                                                  Count I

         Section 1983 Fourth Amendment Violations —Illegal Search and Seizures

       15.         Plaintiff realleges paragraphs 1 through 14 above, as if fully set forth here.

       16.         The searches and seizures of Plaintiff, performed willfully and wantonly by the

Officer Defendants, as detailed above, individually and in conspiracy with each other, were in

violation of plaintiff’s rights to be free of unreasonable searches and seizures under the Fourth

Amendment to the Constitution of the United States and 42 U.S.C. § 1983.

       17.         As a proximate result of the above-detailed actions of Defendant Officers,

Plaintiff was injured, including the deprivation of his liberty and the taking of his property. In
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addition, the violations proximately caused the plaintiff mental anguish and humiliation, exposed

him to public scandal and disgrace, and caused him to incur various expenses, all to Plaintiff’s

damage.

       18.      The misconduct described in this Count was undertaken pursuant to the policy and

practice of the Chicago Police Department in the manner described more fully throughout this

Complaint and was tacitly ratified by policy-makers for the City of Chicago with final

policymaking authority.

       WHEREFORE, pursuant to 42 U.S.C. § 1983, Plaintiff demands judgment against

Defendants for compensatory damages, punitive damages, the costs of this action and attorneys’

fees, and any such other and further relief as this Court deems equitable and just.

                                              Count II

             42 U.S.C. Section 1983 – Conspiracy to Deprive Constitutional Rights

       19.      Plaintiff realleges paragraphs 1 through 14 above, as if fully set forth here.

       20.      As described more fully above, the Defendants reached an agreement amongst

themselves to unlawfully search and seize Plaintiff, and to thereby deprive Plaintiff of his

Constitutional rights, all as described more fully throughout this Complaint.

       21.      In this manner, the Defendant Officers, acting in concert with other unknown co-

conspirators, have conspired by concerted action to accomplish an unlawful purpose by an

unlawful means.

       22.      In furtherance of the conspiracy, each of the co-conspirators committed overt acts

and was an otherwise willful participant in joint activity.

       23.      As a direct and proximate result of the illicit prior agreement referenced above,



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Plaintiff’s rights were violated, and he suffered financial damages, severe emotional distress and

anguish, an invasion of his privacy, and a deprivation of his liberty, as is more fully alleged

above.

         24.   The misconduct described in this Count was undertaken with malice, willfullness,

and reckless indifference to the rights of plaintiff and others.

         25.   The misconduct described in this Count was undertaken pursuant to the policy and

practice of the Chicago Police Department in the manner described more fully throughout this

Complaint and was tacitly ratified by policy-makers for the City of Chicago with final

policymaking authority.

         WHEREFORE, pursuant to 42 U.S.C. § 1983, Plaintiff demands judgment against

Defendants for compensatory damages, punitive damages, the costs of this action and attorneys’

fees, and any such other and further relief as this Court deems equitable and just.

                                              Count III

                          42 U.S.C. Section 1983 – Failure to Intervene

         26.   Plaintiff realleges paragraphs 1 through 14 above, as if fully set forth here.

         27.   In the manner described throughout this Complaint, during the constitutional

violations described herein, one or more of the Defendants stood by without intervening to

prevent the misconduct.

         28.   As a result of the Defendant Officers’ failure to intervene to prevent the violation

of Plaintiff’s constitutional rights, Plaintiff suffered financial damage, as well as emotional

distress, and a deprivation of his liberty, as is more fully described throughout this Complaint.

         29.   The misconduct described in this Count was undertaken with malice, willfullness,



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and reckless indifference to the rights of plaintiff and others.

       30.     The misconduct described in this Count was undertaken pursuant to the policy and

practice of the Chicago Police Department in the manner described more fully herein.

       WHEREFORE, pursuant to 42 U.S.C. § 1983, Plaintiff demands judgment against

Defendants for compensatory damages, punitive damages, the costs of this action and attorneys’

fees, and any such other and further relief as this Court deems equitable and just.

                                              Count IV

                          42 U.S.C. Section 1983 - False Imprisonment

   31. Plaintiff realleges paragraphs 1 through 14 above, as if fully set forth here.

   32. The actions of the individual defendants, described above, whereby defendants knowingly

       arrested and imprisoned plaintiffs without probably cause or any other justification,

       constituted deliberate indifference to plaintiffs’ rights under the U.S. Constitution, thus

       violating the Fourteenth and Eighth Amendments to the United States Constitution.

   33. As a direct and proximate result of these Constitutional violations, plaintiff was caused to

       suffer great pain, anguish, despair, loss of his liberty, emotional and psychological

       injuries, fear, exposure to public scandal and disgrace, and the loss of his constitutional

       rights and his dignity.

       WHEREFORE, pursuant to 42 U.S.C. § 1983, Plaintiff demands judgment against

Defendants for compensatory damages, punitive damages, the costs of this action and attorneys’

fees, and any such other and further relief as this Court deems equitable and just.




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                                                Count V

                                42 U.S.C. Section 1983 – Due Process

      34. Plaintiff realleges paragraphs 1 through 14 above, as if fully set forth here.

      35. By participating in the conspiracy and acting as described above, the individual officers

         withheld material exculpatory information from the prosecutors and the Court, thus

         prolonging the criminal prosecution of Mr. Dotson, prolonging his detention, and forcing

         Mr. Dotson to face trial without the benefit of material exculpatory evidence, thus

         violating Mr. Dotson’s right to due process under the Fourteenth Amendment.

      36. As a direct and proximate result of these Constitutional violations, plaintiff was caused to

         suffer great pain, anguish, despair, loss of his liberty, emotional and psychological

         injuries, fear, exposure to public scandal and disgrace, and the loss of his constitutional

         rights and his dignity.

         WHEREFORE, pursuant to 42 U.S.C. § 1983, Plaintiff demands judgment against

Defendants for compensatory damages, punitive damages, the costs of this action and attorneys’

fees, and any such other and further relief as this Court deems equitable and just.

                                               Count VI

                                   745 ILCS 10/9-102 - Indemnification

37.      Plaintiff realleges paragraphs 1 through 14 above, as if fully set forth here.

38.      Defendant City of Chicago is the employer of Defendants Pentimone, Apraia, Franks,

Evangelides, Flores and Rivera.

39.      Defendants Pentimone, Apraia, Franks, Evangelides, Flores and Rivera committed the

acts alleged above under color of law and in the scope of their employment as employees of the



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City of Chicago.

       WHEREFORE, should Defendants Pentimone, Apraia, Franks, Evangelides, Flores or

Rivera be found liable on one or more of the claims set forth above, Plaintiff demands that,

pursuant to 745 ILCS 10/9-102, the Defendant City of Chicago be found liable for any judgment

plaintiff obtains against said defendants, as well as attorneys fees and costs awarded.

                                            Count VII

                                     State Law False Arrest

   37. Plaintiff realleges paragraphs 1 through 14 above, as if fully set forth here.

   38. By the actions detailed above, and by participating in the above described conspiracy, the

       Defendant Officers knowingly sought to and did in fact arrest Mr. Dotson on false

       charges for which they knew there was no probable cause.

   39. The City is sued in this count pursuant to the doctrine of respondeat superior, in that

       defendant officers performed the actions complained of while on duty and in the employ

       of defendant City, and while acting within the scope of their employment.

   40. As a direct and proximate result of the false arrest, Mr. Dotson was damaged, including

       the value of his lost liberty, exposure to public scandal and disgrace, damage to his

       reputation, mental and emotional suffering, humiliation, pain and anguish.

       WHEREFORE, Plaintiff demands judgment against the City and the individual

defendants, jointly and severally, for compensatory damages, and further demands judgment

against the individual defendants, jointly and severally, for punitive damages, and further

demands attorneys’ fees and the costs of this action, and for such other relief as this court deems

just proper and equitable.



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                                        Count VIII

                            State Law Malicious Prosecution

41. Plaintiff realleges paragraphs 1 through 14 above, as if fully set forth here.

42. By the actions detailed above, and by participating in the above described conspiracy, the

   individual Defendants knowingly sought to and did in fact maliciously prosecute Mr.

   Dotson on false charges for which they knew there was no probable cause.

43. The City is sued in this count pursuant to the doctrine of respondeat superior, in that

   defendant officers performed the actions complained of while on duty and in the employ

   of defendant City, and while acting within the scope of their employment.

44. As a direct and proximate result of the malicious prosecution, Plaintiff was damaged,

   including the value of his lost liberty, attorneys’ fees, lost work, exposure to public

   scandal and disgrace, damage to their reputation, mental and emotional suffering,

   humiliation and anguish.

                                         Count IX

                 State Law Intentional Infliction of Emotional Distress

45. Plaintiff realleges paragraphs 1 through 14 above, as if fully set forth here.

46. The above detailed conduct by the Defendant Officers was extreme and outrageous

   exceeding all bounds of human decency.

47. Defendants performed the acts detailed above with the intent of inflicting severe

   emotional distress on the Plaintiff or with knowledge of the high probability that the

   conduct would cause such distress.

48. As a direct and proximate result of this conduct, plaintiff did in fact suffer severe



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       emotional distress, resulting in injury to his mind, body and nervous system, including

       loss of sleep, mental anguish, nightmares, anxiety attacks, fear and flashbacks.

   49. The City is sued in this count pursuant to the doctrine of respondeat superior, in that

       defendant officers performed the actions complained of while on duty and in the employ

       of defendant City, and while acting within the scope of their employment.

       WHEREFORE, Plaintiff demands judgment against the City and the individual

defendants, jointly and severally, for compensatory damages, and further demands judgment

against the individual defendants, jointly and severally, for punitive damages, and further

demands attorneys’ fees and the costs of this action, and for such other relief as this court deems

just proper and equitable.




                                              Respectfully submitted,

                                              JULE DOTSON

                                              By:

                                      _____/s       Jared S. Kosoglad____________
                                                 One of Plaintiff’s Attorneys

PLAINTIFFS DEMAND TRIAL BY JURY.

Jared S. Kosoglad
Civil Rights Center, P.C.
4554 N. Broadway, Suite 325
Chicago, IL 60640
773.907.0940




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